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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

ST. JOSEPH PARISH ST. JOHNS,

      Plaintiff,
v                                               No. 1:22-cv-1154

DANA NESSEL, in her official capacity as        HON. JANE M. BECKERING
Attorney General of Michigan; JOHN E.
JOHNSON, JR., in his official capacity as       MAGISTRATE JUDGE PHILLIP
Executive Director of the Michigan              J. GREEN
Department of Civil Rights; PORTIA L.
ROBERSON, ZENNA FARAJ ELHASON,
GLORIA E. LARA, REGINA GASCO-
BENTLEY, ANUPAMA KOSARAJU,
RICHARD CORRIVEAU, DAVID
WORTHAMS and LUKE R. LONDO, in their
official capacities as members of the
Michigan Civil Rights Commission,

      Defendants.

William J. Haun                                 Kimberly Pendrick (P60348)
Lori H. Windham                                 Tonya Celeste Jeter (P55352)
Nicholas R. Reaves                              Assistant Attorneys General
Attorneys for Plaintiff                         Attorneys for Defendants
The Becket Fund for Religious Liberty           3030 W. Grand Blvd., Ste 10-200
1919 Penn. Ave. NW., Suite 400                  Detroit, Michigan 48202
Washington, DC 20006                            313.456.0200
202.955.0095                                    pendrickk@michigan.gov
lwindham@becketlaw.org                          jetert@michigan.gov
whaun@becketlaw.org
nreaves@becketlaw.org
                                        /

                         CERTIFICATE OF COMPLIANCE

                   Certificate of Compliance with Type-Volume Limit
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      1.     This brief complies with the type-volume limitation of Local Rule

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                                              Respectfully submitted,

                                              s/Tonya Celeste Jeter
                                              Kimberly Pendrick (P60348)
                                              Tonya Celeste Jeter (P55352)
                                              Assistant Attorneys General
                                              Attorneys for Defendants
                                              3030 West Grand Boulevard
                                              Detroit, Michigan 48202
                                              313.456.0200
                                              Email: jetert@michigan.gov
                                              P55352
Dated: March 30, 2023

                          CERTIFICATE OF SERVICE

I hereby certify that on March 30, 2023, I electronically filed the above document(s)
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                                              s/Tonya Celeste Jeter
                                              Tonya Celeste Jeter (P55352)
                                              Assistant Attorney General




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